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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

KALYNN CROFT and TANYA
PETTY, individually and on behalf of
similarly situated persons,

              Plaintiffs,                 CIVIL ACTION FILE NO.:
                                          _______________________
      vs.

MARDI GRAS MANAGEMENT,                    FLSA COLLECTIVE ACTION
INC.; MICHAEL FULTON and
P.G. PHIFER,

              Defendants.                 JURY DEMAND


                                  COMPLAINT

      COME NOW Plaintiffs KALYNN CROFT and TANYA PETTY, individually

and on behalf of similarly situated persons, and by and through their attorneys, file

this Complaint for violation of the minimum wage, overtime and tip provisions of

the Fair Labor Standards Act, 29 U.S.C. § 201 et seq., as amended by the Tip Credit

Protection Act of 2018, 29 U.S.C. § 203 (hereafter “FLSA”) against Defendants

MARDI GRAS MANAGEMENT, INC., MICHAEL FULTON and P.G. PHIFER,

as follows:




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                                    INTRODUCTION

       1.        Plaintiffs KALYNN CROFT and TANYA PETTY and the collective

action members are current or former entertainers of Defendants who were

misclassified as independent contractors by Defendants and deprived of their rights

to be paid the minimum and overtime wages and retain their duly earned tips under

the FLSA. They seek recovery of their lost minimum and overtime wages and tips,

an equal amount in liquidated damages and reasonable attorneys’ fees and costs

incurred as a result of Defendants’ unlawful activities.

                             JURISDICTION AND VENUE

       2.        This Court has jurisdiction over the subject matter of this action under

28 U.S.C. § 1331 because this action arises under the FLSA.

       3.        Venue is proper in this District because all or a substantial portion of

the events forming the basis of this action occurred in this District. Defendants’ club

is located in this District and Plaintiffs and the collective action members worked in

this District.

                                        PARTIES

       4.        Plaintiff KALYNN CROFT a/k/a “Skylar” (“Croft”) is a former

employee of Defendants, having been employed from March 20, 2015 and

continuing to July 28, 2017.


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      5.       Plaintiff TANYA PETTY a/k/a “Gizelle” (“Petty”) is a former employee

of Defendants, having been employed beginning on November 25, 2014 and

continuing to June 30, 2017.

      6.       The collective action members are current or former entertainers who

were employed by Defendants as entertainers during the past three (3) years.

      7.       Defendant MARDI GRAS MANAGEMENT, INC. (“Mardi Gras”) is

a Georgia Corporation with its principal place of business located at 6300 Powers

Ferry Road, Sandy Springs, Georgia. At all times mentioned herein, Mardi Gras

acted as the “employer” of Plaintiffs and the collective action members within the

meaning of the FLSA.

      8.       Defendant P.G. Phifer is the Chief Executive Officer of Mardi Gras.

Michael Fulton is the Chief Financial Officer of Mardi Gras. Phifer and Fulton acted

directly or indirectly on behalf of Mardi Gras with respect to Plaintiffs and collective

action members’ compensation and other terms and conditions of their employment,

and, at all times mentioned herein were an “employer” or joint employer of Plaintiffs

and the collective action members within the meaning of the FLSA.




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                        COMMON FACTUAL ALLEGATIONS

        9.       During the three years prior to the filing of this complaint (hereinafter

“the relevant time period”) Defendants owned and operated the Mardi Gras, an

Atlanta, Georgia, nightclub featuring nude female dancers (hereinafter “the Club”).

        10.      Plaintiffs and the collective action members are current and former

adult entertainers employed by Defendants at the Club during the relevant time

period.

        11.      The Club hires entertainers to dance partially or fully nude at the Mardi

Gras Club.

        12.      Mardi Gras’s entertainers typically dance for Mardi Gras’s customers

on stage or tableside or in private VIP rooms.

                         A.     Employment/Joint Employment.

        13.      At all times during the relevant time period, Phifer and Fulton were

owners, officers or directors and were involved in the day-to-day operation of the

Club.

        14.      During the relevant time period, Phifer and Fulton made significant

decisions affecting the employment and compensation of Plaintiffs and the collective

action members, including (i) the decision to misclassify Plaintiffs and other dancers

as independent contractors rather than employees; (ii) to not pay them the minimum


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wage required by the FLSA; (iii) to not pay them the overtime wage required by the

FLSA; and (iv) to seize their tips in violation of TIPA and the FLSA.

      15.   Upon information and belief, Phifer and Fulton were the only persons

affiliated with Mardi Gras vested with the authority to classify entertainers as

employees and change their compensation structure to comply with the FLSA.

      16.   Mardi Gras, Phifer and Fulton made decisions such as for whom and

how many employees to hire; how to design the employees’ management structure;

when the work day began and ended; when the employees would stop and start

during and throughout the day; whether an employee should be discipled, fired or

retained; monitored dancers/entertainers several times each day and instructed

employees to remedy any identified problems; retained authority to hire, fire, or

modify the employment conditions of the dancer/entertainers; retained the authority

to set the dancers/entertainers’ pay rate or method of payment; were intimately

involved in payroll procedures and decisions affecting dancers and their pay; and

owned the business and facilities located at 6300 Powers Ferry Road.

                          B.     Interstate Commerce.

      17.   At all times during the relevant time period, the Club was an “enterprise

engaged in commerce or in the production of goods for commerce” as defined in the

FLSA.


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      18.    At all times during the relevant time period, the Club was an enterprise

engaging in interstate commerce by having multiple employees regularly selling

alcoholic beverages produced and shipped from outside of the State of Georgia,

regularly serving foods produced and shipped from outside of the State of Georgia,

and having multiple employees regularly processing out-of-state credit card sales in

the furtherance of its business.

      19.    During 2015, 2016, 2017 and 2018, the Mardi Gras had an annual gross

volume of sales made or business done of not less than $500,000 (exclusive of excise

taxes at the retail level that are separately stated) within the meaning of 29 U.S.C. §

203(s)(1)(A).

      20.    At all times during the relevant time period, the Club had two or more

“employees handling, selling or otherwise working on goods or materials that have

been moved in or produced for commerce by any person,” as defined in the FLSA.

                            C.     Employment Relationship.

      21.    The Club exercised a significant degree of control over the work of

entertainers at the Club.

      22.    At all times during the relevant time period, the Club maintained and

enforced written rules of conduct for dancers which the Club retained and which




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were addressed at the time of hiring as well as when discipline was administered,

but which were not provided in writing to the dancers/entertainers.

      23.    Mardi Gras’s house moms regularly cited the rules and Club’s

expectations with each entertainer and administer check-in procedures, weigh-in on

scales maintained by the Club, and issued warnings for rule violations.

      24.    At all times during the relevant time period, the duties of Club

management included ensuring that dancers complied with Club rules and policies.

      25.    The Club requires each entertainer to perform all work on its premises,

and provided the customers, building, sound systems, stages, VIP rooms, music,

lighting, support staff, alcohol, food, and other facilities and personnel necessary for

an entertainer to dance for a living.

      26.    At all times during the relevant time period, the Club provided the

premises and all facilities necessary for each entertainer to work and earn her living.

      27.    At work, each entertainer was managed and supervised by the Club’s

managers, house moms and floormen.

      28.    The Club directly and indirectly controlled dancers’ work schedules by

requiring them to work a minimum number of shifts per week and hours per shift

and calling or texting them virtually daily to fill in shifts when the Club was short




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on entertainers. The Club required mandatory Friday work as well as work on either

a Monday or Tuesday (“slow days”).

      29.     Each entertainer was required to sign in the time of arrival, disclose the

amount of her tip outs, and to sign out at the time of her departure for each shift she

worked.

      30.     During a shift, an entertainer may not leave the premises without

permission of management or a house mom.

      31.     After receiving permission to leave early, entertainers were required to

pay a $50.00 fine to the Club in addition to their regular mandatory tip outs.

      32.     Entertainers were required to obtain permission from management or a

house mom to miss a scheduled shift and were disciplined for “no calls” or “no

shows” for scheduled shifts.

      33.     The discipline for a no call/no show included suspension or termination.

      34.     During shifts entertainers are required to dance stage sets when called

to the stage by Mardi Gras’s disc jockey.

      35.     Club rules required the entertainer to take off her top after receiving a

$5.00 tip and to take off her bottoms after receiving a $10.00 tip. Entertainers were

required to comply with this Club rule.




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      36.    The Club’s DJ’s called entertainers by their stage name to dance on

stage on a set rotation established and enforced by the Club.

      37.    Entertainers were required to dance for each song of their stage sets or

pay another dancer to dance for them.

      38.    Entertainers worked for tips. Entertainers who missed a stage set were

disciplined by being taken off the stage rotation list.

      39.    Mardi Gras’s entertainers were required to stay on stage until their

replacement arrives.

      40.    If a replacement does not arrive the entertainers must remain on stage

and dance until an entertainer does arrive to replace her.

      41.    Mardi Gras enforced rules about how an entertainer may dance while

on stage and prohibited certain various behaviors by the entertainer.

      42.    Typically, each entertainer was required to dance one or more stage sets

every hour, sometimes as many as three or four sets in an hour, unless a large number

of entertainers were working that particular shift.

      43.    Mardi Gras’s entertainers required to dress before leaving the stage.

      44.    Mardi Gras did not permit its entertainers to walk around the club

partially or fully naked. Entertainers were to be paid tips as a condition of removing

their clothes.


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      45.    The Club’s house moms and managers regularly evaluated the

appearance and dress of dancers at the Club and required weigh-ins for some

entertainer who they considered overweight.

      46.    Mardi Gras enforced dress and appearance requirements consistent

with the image they wish to maintain for their entertainers.

      47.    Each entertainer was expected to wear a costume to work complying

with Mardi Gras standards and was encouraged to purchase costumes provided by

the Club.

      48.    Mardi Gras’s entertainers were required to wear a garter and high heels

as part of their costume, and a butt cover when walking about the Club. On Fridays,

Mardi Gras entertainers were permitted to wear flats for “casual Friday.”

      49.    Each entertainer is expected to have their hair done, nails and toenails

painted, make-up on and costumes clean and in good condition.

      50.    The Club’s house moms and managers have the authority to require

dancers to change their appearance and attire at work.

      51.    On occasion during the relevant time period, the Club’s house moms

and managers required dancers to change their appearance and attire at work.

      52.    During the relevant time period, the Club’s managers had the authority

to suspend and discipline dancers.


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         53.   During the relevant time period, the Club’s managers supervised

dancers on a day-today basis.

         54.   At times during the relevant time period, the Club required dancers to

attend meetings.

         55.   At times during the relevant time period, the Club used mandatory

dancer meetings to discuss problems with dancer dress, hair, makeup, weight, and

appearance, Club promotional efforts and other work-related issues.

         56.   At times during the relevant time period, the Club’s managers and

house moms suspended and disciplined entertainers for violation of Mardi Gras’s

rules.

         57.   During the relevant time period, the Club paid all costs associated with

advertising, marketing, and promoting the Club.

         58.   The Club rents or owns the property on which the Club is located.

         59.   During the relevant time period, the Club paid all costs associated with

running and operating the Club.

         60.   At all times mentioned herein, each entertainer was dependent entirely

upon the Club’s customers to compensate her for working at the Club.




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         61.   The Club’s customers are derived from the Club’s advertising and

marketing efforts and the Club’s reputation from operating the Mardi Gras for many

years.

         62.   The Club required Club customers to pay a “door fee” to enter the

business.

         63.   The Club had ultimate authority as to which individuals were allowed

to enter the Club as customers.

         64.   At all times during the relevant time period, the Club’s managers and

house moms had the discretion not to permit a dancer to work on the premises.

         65.   At all times during the relevant time period, the Club enforced a

mandatory check-out process for the Club’s dancers, which included the payment of

various fees to the Club and its managers, house moms, and DJs.

         66.   Mardi Gras provided and maintained all stages used for dancer

performances at the Club.

         67.   The Club provided all poles used for dancer performances at the Club.

         68.   The Club provided VIP rooms for entertainers’ use with customers.

         69.   The Club provided the floor and tables at which its entertainers danced.

         70.   The Club provided the sound system, lighting and music used by

entertainers to dance at work.


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        71.   The Club provided food and alcohol for its customers.

        72.   At all times during the relevant time period, the Club was responsible

for day-to-day purchases of liquor and food for sale at the Club.

        73.   The Club makes substantial profits from its operations.

        74.   An entertainers’ ability to increase her earnings is largely based upon

her looks and working harder or longer hours.

        75.   At all times during the relevant time period, the Club did not require

the Club’s dancers to have prior experience as dancers or any formal or special

training.

        76.   At all times during the relevant time period, when an individual wanted

to work as a dancer at the Club, a house mom and/or manager generally performed

a “body check” to determine if the individual’s body was suitable for performing at

the Club.

        77.   An entertainer is hired by Mardi Gras largely because of her

“appearance” and willingness to take off her clothes in front of others.

        78.   Mardi Gras’s entertainers are hired indefinitely like most employees.

        79.   Croft and Talley each worked in excess of two (2) years for Mardi

Gras.




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      80.    At the time of hiring, Mardi Gras hopes the entertainer will work for

Mardi Gras for a significant duration.

      81.    At times during the relevant time period, the Club advertised its

business using pictures of scantily clad women.

      82.    The Mardi Gras is well known as a “strip club,” “gentlemen’s club” or

an “adult entertainment club.”

      83.    Mardi Gras’s customers frequent the Club to watch nude dancing.

      84.    The presence of nude dancers was and is integral to the Club’s business

success and operations as a strip club.

      85.    Plaintiffs and the collective action members were and are economically

dependent on the compensation they received from working at the Mardi Gras.

      86.    At all times during the relevant time period, Plaintiffs and the collective

action members were or are “employees” as that term is used in the FLSA, rather

than independent contractors, as a matter of economic reality.

      87.    At all times during the relevant time period, Defendants were or are

“employers” of Plaintiffs and the collective action members as defined in the FLSA.

      88.    At all times during the relevant time period, Plaintiffs and the collective

action members were and are not exempt from the minimum wage requirements of

the FLSA.


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        89.   At all times during the relevant time period, Defendants paid no wages

to Plaintiffs and the collective action members for any work time on the premises.

        90.   Plaintiffs and the collective action members were generally expected to

work at least seven hours per shift at least three (3) days per week at the Mardi Gras.

        91.   On occasion, Plaintiffs and the collective action members worked over

forty (40) hours in a workweek.

        92.   In addition, Plaintiffs and the collective action members were required

to do their hair, nails, toenails, make-up and bathe and dress for each shift to comply

with Mardi Gras’s policies and procedures.

        93.   The time spent by each entertainer complying with Mardi Gras’s

appearance and dress requirements typically exceeded one (1) hour per shift.

        94.   Mardi Gras did not pay any wages to Plaintiffs and the collective action

members for the time spent working on the premises, getting ready for work and

waiting to leave the premises after work.

        95.   Plaintiffs and the collective action members worked entirely for tips

paid by Mardi Gras’s customers.

        96.   The tip compensation was paid directly by the customer to Plaintiffs

and the collective action members unless the tip was paid through a customer’s credit

card.


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      97.    Plaintiffs and the collective action members were required to pay Mardi

Gras and others to work at the Club.

      98.    The required payments to the Club and others were paid entirely from

the tip income earned by Plaintiffs and the collective action members. House fees

were paid to the Club as a requirement for working at Mardi Gras.

      99.    Plaintiffs and the collective action members who arrived on the floor of

the Club before noon, dressed and ready were not required to pay a house fee. After

noon, entertainers were required to pay a $25.00 house fee and were permitted to

stay at the Club until 7 p.m. Entertainers who extended their shift were required to

pay $25.00 to $30.00 to stay past 9:00 p.m.

      100. Nightshift entertainers were required to pay from their tips a house fee

of at least $50.00. The house fee increased if Plaintiffs or the collective action

members arrived after the start of the scheduled shift. Entertainers arriving after 8:00

p.m. were required to pay a house fee of $65.00.

      101. Plaintiffs and the collective action members were required to pay the

greater of 10% or $10 from their tips to the Disc Jockey each shift.

      102. Plaintiffs and the collective action members were notified at the time

of their hiring that the DJ fee is 10% of gross tips. The minimum DJ fee is $10.00.




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       103. If a Mardi Gras customer paid Plaintiffs and collective action members

by credit card, Mardi Gras required Plaintiffs and the collective action members to

“kick-back” to Mardi Gras a fee from their tips in order to convert the credit card

charges to cash.

       104. In addition Mardi Gras often withheld tips derived from credit card

charges for up to 90 days or longer, thereby violating the FLSA requirement that tips

earned during a workweek be paid during the employees regularly scheduled pay

period.

       105. The various fees charged Plaintiffs and the collective members violate

the free and clear requirement of the FLSA, and constitute an illegal “kick-back”

under the FLSA.

       106. The various fees charged by Mardi Gras to Plaintiffs and the collective

action members caused their wages to drop below the minimum wage and the

applicable overtime wage during workweeks in which Plaintiffs and the collective

action members worked overtime.

                    COLLECTIVE ACTION ALLEGATIONS

       107. Plaintiffs re-allege and incorporate by reference the above paragraphs

as if fully set forth herein.




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      108. Mardi Gras maintained a policy and practice of (i) misclassifying its

entertainers; (ii) requiring them to pay to work as described herein; (iii) withholding

of tip income; and (iii) not paying them the minimum and overtime wage required

by law.

      109. Mardi Gras’s unlawful policies and procedures were applied to all

entertainers working for Mardi Gras during the past three (3) years.

      110. Like the Collective Action Plaintiffs, there are members of the putative

Collective action who are or were subject to the same FLSA violations and wish to

join this lawsuit. These individuals would benefit from the issuance of court-

supervised notice of this lawsuit and the opportunity to join by filing their written

consent. Defendant can readily identify these similarly situated entertainers through

its business records and produce their contact information to Plaintiffs’ counsel.

      111. The putative class includes:

      All entertainers who were employed by Mardi Gras during the past
      three (3) years.


                               COUNT ONE
                        VIOLATION OF 29 U.S.C. §§ 206

      112. Paragraphs 1 through 111 are incorporated herein by this reference.




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        113. At all times material hereto, Plaintiffs and the collective action

members were or are employees covered by the FLSA and entitled to the minimum

wage protections set forth in FLSA, 29 U.S.C. § 206(a).

        114. At all times material hereto, Defendants failed to compensate Plaintiffs

and the collective action members at an hourly rate above or equal to the minimum

wage.

        115. At all times material hereto, Defendants and the collective action

members willfully failed to compensate Plaintiffs at an hourly rate above or equal to

the minimum wage.

        116. Plaintiffs and the collective action members are entitled to payment of

their minimum wages in an amount to be determined at trial, in accordance with

FLSA § 16(b), 29 U.S.C. § 216(b).

        117. Defendants’ requirement that entertainers pay fees and fines to the Club

and its managers, house moms, and DJs violated and continue to violate the “free

and clear” requirement of 29 CFR 531.35, thereby constituting an unlawful kickback

in violation of the FLSA.

        118. The tips earned by Plaintiffs and the collective action members belong

to Plaintiffs and the collective action members and Mardi Gras’s unlawful taking of


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Plaintiffs and the collective action members’ tips violate the Tip Income Protection

Act of 2018 (“TIP”).

      119. Plaintiffs and the collective action members are entitled to receive all

unpaid minimum wages from Defendants for the hours that they worked, including

the time spent complying with Mardi Gras’s onerous dress and appearance

requirements and waiting on the premises to comply with Mardi Gras’s exit policies.

      110. Plaintiffs and the collective action members are entitled to recover from

Defendants all fees and fines that they were required to pay in order to work at the

Club as part of their wage loss and for purposes of recovering unlawful taking of

their tips in violation of the TIP.

      111. As a result of Defendants’ willful underpayment of minimum wages as

alleged above, Plaintiffs and the collective action members are entitled to liquidated

damages in accordance with FLSA §16(b), 29 U.S.C. § 216(b).

      112. As a result of its underpayment of minimum wages as alleged above,

Defendants are jointly and severally liable to Plaintiffs and the collective action

members for their litigation costs, including their reasonable attorney’s fees, in

accordance with FLSA §16(b), 29 U.S.C. § 216(b).




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                           COUNT TWO
             OVERTIME WAGE CLAIM (Violation of 29 U.S.C. § 207)


      113. Plaintiffs repeat and reallege the allegations in the preceding

paragraphs of this Complaint, and incorporate the same herein by this specific

reference.

      114. Each Defendant is an “employer” or joint employer of Plaintiffs and

each collective action member within the meaning of the FLSA, 29 U.S.C. § 203(d).

      115. Defendants are engaged in “commerce” and/or in the production of

“goods” for “commerce” as those terms are defined in the FLSA.

      116. Defendants operate an enterprise engaged in commerce within the

meaning of the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged in

commerce, and because its annual gross volume of sales made is more than

$500,000.

      117. Plaintiffs consent to sue in this action pursuant to 29 U.S.C. § 216(b).

      118. A consent to sue executed by each Plaintiff is attached to this demand.

      119. Defendants failed to pay Plaintiffs and all others similarly situated the

applicable overtime wage for each hour in excess of forty (40) during each

workweek in which they worked in violation of 29 U.S.C. § 207.

      120. Based upon the conduct alleged herein, Defendants knowingly,


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intentionally and willfully violated the FLSA by not paying Plaintiffs and the

collective action members the overtime wage required under the FLSA.

      121. Throughout the relevant period of this lawsuit, there is no evidence that

Defendants’ conduct that gave rise to this action was in good faith and based on

reasonable grounds. In fact, Defendants continued to violate the FLSA long after it

learned that its misclassification scheme and compensation policies were illegal.

      122. Due to Defendants’ FLSA violations, Plaintiffs and the collective

action members are entitled to recover from Defendants, overtime wage

compensation and an equal amount in the form of liquidated damages, as well as

reasonable attorneys’ fees and costs of the action, including interest, pursuant to 29

U.S.C. § 216(b).

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs respectfully pray that this Court grant relief as

follows:

      a.     Certify this as a collective action and issue notice to collective action

             members;

      b.     As to Count I award Plaintiffs and the collective action members

             judgment for wages at the minimum rate, including the recovery of all

             payments reducing wages below the minimum wage, as well as


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           liquidated damages, interest and attorneys’ fees as provided for under

           the FLSA;

     c.    As to Count II award Plaintiffs and each collective action member who

           joins this lawsuit judgment for overtime wages, including the recovery

           of all payments reducing wages below the overtime wage, as well as

           liquidated damages in an equal amount, interest and attorneys’ fees as

           provided for under the FLSA;

     d.    Award Plaintiffs costs of this action, including expert fees;

     e.    Grant Plaintiffs and the collective action members a jury trial on all

           issues so triable; and

     f.    Award Plaintiffs such other and further relief as the Court may deem

           just and proper.

           This 19th day of June, 2018.


                                               /s/ Ainsworth G. Dudley
                                               Ainsworth G. Dudley
                                               Ga. Bar No. 231745
                                               Attorney for Plaintiffs
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                               FLYNN LAW FIRM, LLC


                               /s/ Jonah A. Flynn
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                                JURY DEMAND

      Pursuant to F.R.C.P 38, Demand is hereby made for trial by jury on

all issues raised by these pleadings.


                                        /s/ Ainsworth G. Dudley




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                     CERTIFICATE OF COMPLIANCE

      The undersigned hereby certifies that the foregoing pleading complies with

the font and point selections approved by the Court in Local Rule 5.1B. This

pleading has been prepared in Times New Roman font, 14 point.


                         By: /s/ Ainsworth G. Dudley




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